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                                                  April 17, 2023

Via ECF
Hon. Lois Bloom, U.S.M.J.
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                      Re:     Plaintiff’s Letter Motion for Sanctions
   Stidhum v. 161-10 Hillside Auto Ave, LLC, No. 21-cv-07163 (PKC) (RLM), (E.D.N.Y.)

Dear Judge Bloom:

         We respectfully write to report that we have not yet received the documents subject to the
Order to Compel issued by the Court on April 12, 2023. In the Order, the Court stated, in relevant
part, as follows: “To the extent that defendants need additional time because of last week's holidays,
I will allow them until Monday at noon, April 17, 2023, to produce the documents compelled in
my April 3 Order. If the documents are not produced by noon on April 17, 2023, the Court shall
impose an appropriate sanction.”

       Today, at 11:59 a.m., a minute prior to the Court deadline, we received an email from Mr.
Kataev confirming receipt of Plaintiff’s supplemental responses with the following message:
“Thanks. I am bates stamping the documents required to be produced and sending over; got tied
up on phone calls from 10 am until now in three separate matters.”

        Defendants are put on notice for the production of the relevant documents since April 3,
2023 by Court Order, which ordered for the production of car sales logs for the relevant time
period, in response to plaintiff's first set of document requests, request nos. 17 & 21. See Docket
Entry Order dated April 3, 2023. We thus respectfully request that the Court issue the appropriate
sanctions stemming from Mr. Kataev’s continual failure to comply with court deadline, including
promises made before Your Honor in open court (including his Motion to Withdraw his appeal in
the second circuit, resulting in several motions to compel for him to comply with his promises
made), but in light of the bad-faith litigation strategy of having all witnesses except the first one
to “forget” their phone at home, to not produce clearly relevant weekly car sales records and
commission sheets, despite being called for in the first set of document requests, no. 17 & 21.

       We thank the Court for its prompt and kind attention to this matter.
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                                          Respectfully Submitted,
                                          /s/ Tiffany Troy
                                          Tiffany Troy
                                          Attorney for Plaintiffs
JT/mh
cc:. (via ECF)




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